                                         Case 3:20-cv-08570-JD           Document 896       Filed 02/11/25      Page 1 of 2




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                         MAXIMILIAN KLEIN, et al.,
                                   7                                                         Case No. 20-cv-08570-JD
                                                        Plaintiffs,
                                   8
                                                 v.                                          THIRD AMENDED SCHEDULING
                                   9                                                         ORDER FOR USER PLAINTIFFS
                                         META PLATFORMS, INC.,
                                  10
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court sets the following case management deadlines pursuant to Federal Rule of Civil

                                  14   Procedure 16 and Civil Local Rule 16-10. The parties are advised to review and comply with the

                                  15   Court’s Standing Order for Civil Cases, Standing Order for Discovery in Civil Cases, and

                                  16   Standing Order for Civil Jury Trials.

                                  17

                                  18                                     Event                                           Deadline
                                  19     Last day to file dispositive and Daubert motions                     April 28, 2025

                                  20                                                                          Thursday, September 25,
                                         Pretrial conference                                                  2025, at 1:30 p.m.
                                  21
                                                                                                              Monday, November 17, 2025,
                                  22
                                         Jury Trial                                                           at 9:00 a.m.
                                  23
                                              All dates set by the Court should be regarded as firm. Counsel may not modify these dates
                                  24
                                       by stipulation without leave of court. Requests for continuances are disfavored, and scheduling
                                  25
                                       conflicts that are created subsequent to the date of this order by any party, counsel or party-
                                  26
                                       controlled expert or witness will not be considered good cause for a continuance. Sanctions may
                                  27
                                       issue for a failure to follow a scheduling or other pretrial order. See Fed. R. Civ. P. 16(f)(1)(C).
                                  28
                                        Case 3:20-cv-08570-JD     Document 896       Filed 02/11/25   Page 2 of 2




                                   1         IT IS SO ORDERED.

                                   2   Dated: February 11, 2025

                                   3                                         ______________________________________
                                                                             JAMES DONATO
                                   4                                         United States District Judge
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                                  12
Northern District of California
 United States District Court




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